Case 2:03-cv-02801-BBD-dkv Document 21 Filed 09/02/05 Page 1 of 3 Page|D 40

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IN THE UNITED STATES DISTRICT COURT F?""" ~" l~: l\/ED
FOR THE WESTERN DISTRICT ()F TENNESSEE

 

   

 

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MARY E. MCNALLY, CLEQ;< U';§'§#'Si'il@»" meat
ID Cr- el f,i:a~“.'~;;s
Plaimiff,
v. Case No. 2:03cv2801 D/V
METHoDIsT HEALTHCARE and ,:, _
MErHoDIsT HEALTHCARE MEMPHIS g § -
HosPITALs and RANDALL “RANDY” § U
sECREASE, . 2
"° z
Defendants. § W/
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ORDER GRANTING PLAINTIFF’S MOTION TO FILE MEMORANDUM fled
RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
IN EXCESS OF PAGE LIMIT SET BY LOCAL RULE 7.2(e)

 

BEFORE THE COURT is the Plaintift"s motion for an order allowing Plaintiff to file a
memorandum in response to Defendants’ motion for summary judgment, which exceeds the
twenty (20) page memorandum limit set by Local Rule 7.2(e);

IT APPEARING TO TI-IE COURT that the motion is well taken and should be granted;

IT IS THEREFORE ORDERED, ADJUDGED and DECREED that the PIaintifi’s motion
to file a memorandum in response to Defendants’ motion for summary judgment, which exceeds
the twenty (20) page memorandum limit set by Local Rule 7.2(e) is granted Plaintift`s statement

of facts and memorandum of law shall not exceed thirty (30) pages

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Case 2:03-cv-O2801-BBD-dkv Document 21 Filed 09/02/05 Page 2 of 3 Page|D 41

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
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Honorable Bernice Donald
US DISTRICT COURT

